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                     EXHIBIT H
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                                                                                                                      LarsonP3000029




To: Sari Boren                                                                                                                                     CD
                                                                Jun 16, 2017, 2:19 PM

                                                                                         I have news, my dear-- my kidney story is getting published!

Omg! Where?

                                                                                                                             American Short Fiction!

Cool!!

                                                                                          I am excited but also worried that DD is going to murder me

Eh. Whatever. Just don't use her note

                                                                                                                                        THANK YOU
